         Case
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                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     OCT 04 2016
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 ERIC ADERHOLD,                                 No. 14-35208

               Plaintiff - Appellant,
                                                D.C. No. 2:13-cv-00489-RAJ
   v.                                           U.S. District Court for Western
                                                Washington, Seattle
 CAR2GO N.A. LLC, on his own behalf
 and on behalf of other similarly situated      MANDATE
 persons,

               Defendant - Appellee.


        The judgment of this Court, entered September 09, 2016, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                  FOR THE COURT:
                                                  Molly C. Dwyer
                                                  Clerk of Court

                                                  Craig Westbrooke
                                                  Deputy Clerk
